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14                                UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                      SAN JOSE DIVISION
17   JOHN STOSSEL, an individual,
                                                      Case No. 5:21-cv-07385-VKD
18
                   Plaintiff,
19                                                    STIPULATION AND REQUEST FOR
            v.                                        ORDER REGARDING STAY OF
20                                                    DISCOVERY AND CONTINUATION
     FACEBOOK, INC., a Delaware corporation;          OF INITIAL CASE MANAGEMENT
21   SCIENCE FEEDBACK, a French non-profit            CONFERENCE
     organization; and CLIMATE FEEDBACK, a French
22
     non-profit organization,                         Hon. Virginia K. DeMarchi
23
                    Defendants.
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      NO.: 5:21-CV-07385-VKD                               CIVIL LOCAL RULE 6-2(A), 7-12 STIPULATION
             Case 5:21-cv-07385-VKD Document 25 Filed 11/24/21 Page 2 of 4




 1             WHEREAS Plaintiff John Stossel filed the Complaint on September 22, 2021 (Dkt. No. 1);

 2   WHEREAS, by Order dated September 23, 2021, the Court set the Initial Case Management

 3   Conference for December 28, 2021 (Dkt. No. 3);

 4             WHEREAS Plaintiff and Defendant Facebook, Inc. (Meta Platforms, Inc. or “Meta”)1

 5   stipulated and agreed to extend the time for Meta to answer, move, or otherwise respond to the

 6   Complaint to November 30, 2021 (Dkt. No. 18);

 7             WHEREAS Plaintiff and Meta stipulated and agreed to, and the Court ordered, an extension

 8   of time for Plaintiff’s Opposition to any Rule 12 motion or other response to January 11, 2022, and

 9   for Meta’s Reply to any such motion or response to February 8, 2022 (Dkt. No. 19);

10             WHEREAS Plaintiff and Meta agree that the Court’s ruling on Meta’s motion to dismiss the

11   Complaint will provide guidance to the parties as to the scope of the issues in the case and the

12   appropriate contours for discovery;

13             WHEREAS Plaintiff and Meta agree that good cause exists to stay all discovery, including

14   disclosures pursuant to Federal Rule of Civil Procedure 26, until the Court has issued an Order

15   deciding Meta’s forthcoming Motion to Dismiss; however, the Parties agree that should Meta file a

16   special motion to strike pursuant to California’s anti-SLAPP law, and should that motion raise

17   factual issues, Plaintiff reserves the right to seek discovery on any such factual issues;

18             WHEREAS Plaintiff and Meta agree that a one-week continuation of the December 28, 2021

19   Case Management Conference is appropriate to accommodate travel plans associated with the winter

20   holidays;

21             WHEREAS continuing the Case Management Conference by one week will not affect any

22   other date already set by Court order;

23             Pursuant to Civil Local Rule 7-12, Meta and Plaintiff, by and through their respective

24   counsel, hereby stipulate and agree to the following, and request that the Court order:

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     1
      On October 28, 2021, Facebook announced that it has changed its company name to Meta
28   Platforms, Inc.

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 1          1.      A stay of all discovery, including initial disclosures pursuant to Fed. R. Civ. P. 26,

 2   until the Court has issued an Order deciding Meta’s forthcoming Motion to Dismiss, except that

 3   Plaintiff reserves the right to seek discovery on any factual issues raised by any special motion to

 4   strike filed by Meta pursuant to California’s anti-SLAPP law;

 5          2.      If the Court denies Meta’s forthcoming Motion to Dismiss in whole or in part, initial

 6   disclosures pursuant to Fed. R. Civ. P. 26 shall be due 14 days after the Court’s ruling.

 7          Pursuant to Civil Local Rule 6-2(a), Meta and Plaintiff hereby stipulate and agree, and

 8   request that the Court order:

 9          3.      The initial Case Management Conference currently scheduled for December 28, 2021

10   shall be continued to January 4, 2022.

11

12    Dated: November 24, 2021                            WILMER CUTLER PICKERING, HALE AND
                                                          DORR LLP
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                                                          By:    /s/ Molly M. Jennings
14                                                               MOLLY M. JENNINGS

15                                                        Attorney for Defendant
                                                          Facebook, Inc.
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      Dated: November 24, 2021                            By:    /s/ Krista L. Baughman
19                                                               KRISTA L. BAUGHMAN

20                                                        Attorney for Plaintiff
                                                          John Stossel
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on November 24, 2021, I electronically filed the above document with

 3   the Clerk of the Court using CM/ECF which will send electronic notification of such filing to all

 4   registered counsel.

 5

 6    Dated: November 24, 2021                           By:    /s/ Molly M. Jennings
                                                                 Molly M. Jennings
 7

 8                                     ATTORNEY ATTESTATION
 9          I, Molly M. Jennings, am the ECF User whose ID and password are being used to file this
10   Stipulation and accompanying proposed order. In compliance with Civil Local Rule 5-l(i)(3), I
11   hereby attest that concurrence in the filing of this document and all attachments has been obtained
12   from each signatory.
13

14    Dated: November 24, 2021                           By:    /s/ Molly M. Jennings
                                                                 Molly M. Jennings
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      CASE NO.: 5:21-CV-07385-VKD                                CIVIL LOCAL RULE 6-2(A), 7-12 STIPULATION
